Case 1-25-45000-/Jmm Docl Filed LO/Os/cs5

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United States Bankruptcy Court for the:

Eastern District of New York

Case number (if known):

(State)
Chapter 7

Official Form 201

Voluntary Petition for Non-individuals Filing for Bankruptcy

entered LO/Os/z25 LOtLotey

JX \* check if this is an
amended filing

06/22

if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, instructions for Bankruptcy Forms for Non-individuals, ts available.

1. Debtor’s name

2. All other names debtor used

in the last 8 years

Include any assumed names,

trade names, and doing business

as names

3. Debtor’s federal Employer
identification Number (EIN)

4. Debtor’s address

5. Debtor’s website (URL)

Official Form 201

ORANGE OAK HOLDING GROUP LLC

47.5148 3 37

Principal place of business Mailing address, if different from principal place
of business

81-34 169th St

Number Street Number Street
P.O. Box

Jamaica, NY 11432

City State ZIP Code City State ZIP Code
Location of principal assets, if different from
principal place of business

Queens

County
Number Sireet
City State ZIP Code

Voluntary Petition for Non-Individuais Filing for Bankruptcy page 1

Case 1-25-45000-JmmM Docl Filed LO/Os/z5 Entered LO/Odics LOLoley

per +4 ORANGE OAK HOLDING GROUP LLC eeu aes

Name

6. Type of debtor

7. Describe debtor’s business

s. Under which chapter of the
Bankruptcy Code is the
debtor filing?

A debtor who is a “smail business
debtor” must check the first sub-
box. A debtor as defined in

§ 1182(1) who elects to proceed
under subchapter V of chapter 11
(whether or not the debtor is a
“small business debtor”) must
check the second sub-box.

Official Form 201

enone of the above

YM corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
) Partnership (excluding LLP)
CU) Other. Specify:

A. Check one:

LJ Health Care Business (as defined in 11 U.S.C. § 101(27A))
Ysingle Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
(} Railroad (as defined in 11 U.S.C. § 101(44))

LJ Stockbroker (as defined in 11 U.S.C. § 101(53A))

LJ Commodity Broker (as defined in 11 U.S.C. §
CU] Clearing Bank (as defined in

(6))

B. Check all that apply:

U2 Tax-exempt entity (as described in 26 U.S.C. § 501)

(} Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

CL} investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
htto://Awww.uscourts.gov/four-digit-national-association-naics-codes .

F213

Check one:

id Chapter 7
CJ Chapter 9
QQ Chapter 11. Check all that apply.

L) The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
aggregate noncontingent liquidated debts (excluding debts owed to insiders or
affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
recent balance sheet, statement of operations, cash-flow statement, and federal
income tax return or if any of these documents do not exist, follow the procedure in
11 U.S.C. § 1116(1)(B).

(J The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax retum, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1116(1)(B).

() A plan is being filed with this petition.

() Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

(J The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Aftachment to Voluntary Petition for Non-Individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

CI The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

CQ Chapter 12

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
Case 1-25-45000-JmmM Docl Filed LO/Os/z5 Entered LO/Odics LOTLoley

Debtor

ORANGE OAK HOLDING GROUP LLC

Name

9. Were prior bankruptcy cases Wino
filed by or against the debtor
within the last 8 years? L) Yes.

lf more than 2 cases, attach a
separate list.

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list.

VW No
UL) Yes.

11. Why is the case filed in this
district?

Case number (i known)

Disirict When

MM/ DD/YYYY
District When

MM/ DD/YYYY
Debtor
District

Case number, if known

Case number

Case number

Relationship

When
MM / DD /YYYY

dh. all that apply:
Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

(3 A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have
possession of any real
property or personal property
that needs immediate
attention?

V1no

CJ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check ail that apply.)

(I It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

L) it needs to be physicatly secured or protected from the weather.

CL) Itincludes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonai goods, meat, dairy, produce, or securities-related

assets or other options).

CQ other

Where is the property?

Number Street

City

ts the property insured?
LJ No

O) Yes. insurance agency

State ZIP Code

Contact name

Phone

i: Statistical and administrative information

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy

page 3

Case 1-25-45000-JmmM Docl Filed LO/Os/z5 Entered LO/Odics LOLoley

Debtor ORANGE OAK HOLDING GROUP LLC

Name

Case number (i known)

13. Debtor’s estimation of
available funds

44. Estimated number of
creditors

15. Estimated assets

16. Estimated liabilities

Check one:

() Funds will be available for distribution to unsecured creditors.

M1 aiter any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

M19

LJ 50-99
LJ 100-199
(2) 200-999

UJ $0-$50,000

LJ $50,001-$100,000
[} $100,001-$500,000
M1s500,001-$1 million

CL} $0-$50,000

LI $50,001-$100,000
CI $100,001-$500,000
71 $500,001-$1 million

C 14,000-5,000
CJ 5,001-10,000
LJ 10,001-25,000

(2 $1,000,001-$10 million

(I $10,000,001-$50 mittion
L $50,000,001-$100 million
CL) $100,000,001-$500 million

C2 $1,000,001-$10 million

LJ $10,000,001-$50 million
C) $50,000,001-$100 million
LJ $100,000,001-$500 million

U1 25,001-50,000
(3 50,001-100,000
L) More than 100,000

©) $500,000,004-$1 billion

C3 $1,000,000,001-$10 billion
(2) $10,000,000,001-$50 billion
LJ More than $50 billion

(2 $500,000,001-$1 billion

CJ $1,000,000,001-$10 billion
LJ $10,000,000,001-$50 billion
L) More than $50 billion

a Request for Relief, Declaration, and Signatures

WARNING — Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of
authorized representative of
debtor

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this

petition.
| have been authorized to file this petition on behalf of the debtor.
I have examined the information in this petition and have a reasonable belief that the information is true and

correct.

{declare under penalty of pesjury that the foregoing is true and correct.

Executed on 10/ vsthond

Printed name

Mashubayev

C—-—
Signature of authorized representative of debtor

Title Member

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4
Case 1-25-45000-/mmM Docl Filed LO/Os/c2s5

ORANGE OAK HOLDING GROUP LLC

Debtor

Name

18. Signature of attorney

Official Form 201

entered LO/Os/z25 LOtLotey

Case number (i known)

Date
Signature of attorney for debtor MM /DD /YYYY
Printed name
Firm name
Number Street
City State ZIP Code

Contact phone

Email address

Bar number

State

Voluntary Petition for Non-Individuals Filing for Bankruptcy

page 5
Case 1-25-45000-JmmM Docl Filed LO/Os/z5 Entered LO/Odics LOTLoley

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
www.nyeb.uscourts.gov

STATEMENT PURSUANT TO LOCAL
BANKRUPTCY RULE 1073-2(b)

DEBTOR(S): ORANGE OAK HOLDING GROUP LLC CASE NO::

Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner’s best knowledge, information and belief:

[NOTE: Cases shall be deemed “Related Cases” for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same;

(ii) are spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership;
(v) are a partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners;
or (vii) have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is
included in the property of another estate under 11 U.S.C. § 541(a).]

Vv NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.
O THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

J. CASE NO.: JUDGE: DISTRICT/DIVISION:

CASE STILL PENDING: (YES/NO): [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE:

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (“REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES:

2. CASE NO.: JUDGE: DISTRICT/DIVISION:

CASE STILL PENDING: (YES/NO): [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE:

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” ((REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES:

Case 1-25-45000-JmmM Docl Filed LO/Os/z5 Entered LO/Odics LOTLoley

[OVER]
DISCLOSURE OF RELATED CASES (cont’d)
3. CASE NO.: JUDGE: DISTRICT/DIVISION:
CASE STILL PENDING: (YES/NO): [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE:

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES:

NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days
may not be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.

TO BE COMPLETED BY DEBTOR/PETITIONER’S ATTORNEY, AS APPLICABLE:
T am admitted to practice in the Eastern District of New York (Y/N):

CERTIFICATION (to be signed by pro-se debtor/petitioner or debtor/petitioner’s attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any
time, except as indicated elsewhere on this form. oo

Signature of Debtor’s Attorney Signature of Pro-se Debtor/Petitioner
81-34 169th St
Mailing Address of Debtor/Petitioner
Jamaica, NY 11432
City, State, Zip Code

Joeyush@gmail.com
Email Address

718-964-3877
Area Code and Telephone Number

Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor
or any other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment
of a trustee or the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may
otherwise result.
Case 1-25-45000-JmmM Docl Filed LO/Os/z5 Entered LO/Odics LOTLoley

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In Re: Case No.

ORANGE OAK HOLDING GROUP LLC Chapter 7

Debtor(s)

VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS

The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that the
creditor matrix/list of creditors submitted herein is true and correct to the best of his or her

knowledge.

Dated: fs 4
1975 13992

Z
Debtor

Joint Debtor

s/
Attorney for Debtor

USBC-44 Rev. 11/15

Case 1-25-45000-/mmM Docl Filed LO/Os/c2s5

Wilmington Savings Fund Society, FSB, as Trustee
c/o Friedman Vartolo, LLP

85 Broad Street, Suite 501

New York, NY 10004

entered LO/Os/z25 LOtLotey
